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                                                       USDC SDNY
UNITED STATES DISTRICT COURT                           DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                          ELECTRONICALLY FILED
                                                       DOC #: _________________
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                                                   X   DATE FILED:November  19, 2018
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 BLACKROCK ALLOCATION TARGET                       :
 SHARES: SERIES S PORTFOLIO, et al., :
                                                   :
                                   Plaintiffs,     :      14 Civ. 9371 (KPF)
                                                   :
                       v.                          :          ORDER
                                                   :    OF DISCONTINUANCE
 WELLS FARGO BANK, NATIONAL                        :
 ASSOCIATION, et al.,                              :
                                                   :
                                   Defendants. :
                                                   :
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KATHERINE POLK FAILLA, District Judge:

       On November 19, 2018, it was reported to the Court that this case has

been settled. Accordingly, it is hereby:

       ORDERED that this action be conditionally discontinued without

prejudice and without costs; provided, however, that within 180 days of the

date of this Order, the parties may submit to the Court their own Stipulation of

Settlement and Dismissal for the Court to So Order. Otherwise, within such

time Plaintiff may apply by letter for restoration of the action to the active

calendar of this Court in the event that the settlement is not consummated.

Upon such application for reinstatement, the parties shall continue to be

subject to the Court’s jurisdiction, the Court shall promptly reinstate the action

to its active docket, and the parties shall be directed to appear before the

Court, without the necessity of additional process, on a date within ten (10)
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days of the application, to schedule remaining pretrial proceedings and/or

dispositive motions, as appropriate. This Order shall be deemed a final

discontinuance of the action with prejudice in the event that Plaintiff has not

requested restoration of the case to the active calendar within such 180-day

period.

      The Clerk of Court is directed to terminate all pending motions, adjourn

all remaining dates, and close this case.

      SO ORDERED.

Dated:      November 19, 2018
            New York, New York              __________________________________
                                                 KATHERINE POLK FAILLA
                                                United States District Judge




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